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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
DR. SHIVA AYYADURAI,                      )
                     Plaintiff,           )
                                          )
          v.                              ) C.A. No. 1:18-cv-11929-RGS
                                          )
THE UNIVERSITY OF MASSACHUSETTS,          )
MARTY MEEHAN, DAVID CASH,                 )
                     Defendants.          )
_________________________________________

         ASSENTED MOTION FOR ADMISSIONS PRO HACE VICE OF
         ATTORNEYS JASON TORCHINSKY AND DENNIS W. POLIO

      I, Timothy Cornell, counsel of record for Plaintiff Dr. Shiva Ayyadurai, and

an admitted member of the bar of this District, move pursuant to Local Rule

83.5.3(d) for the admissions of Attorney Jason Torchinsky and Dennis W. Polio as

co-counsel in this action.

      Mr. Torchinsky is a partner at Holtzman Vogel Josefiak Torchinsky, PLLC, a

Warrenton, VA law firm. Mr. Polio is an associate at the same firm.

      In support of this motion, the movant relies on the attached Declarations of

Jason Torchinsky and Dennis Polio. Mr. Torchinsky’s Declaration states that he is a

member in good standing of the State Bars of the Commonwealth of Virginia and

the District of Columbia, and admitted to practice before the U.S. Supreme Court,

U.S. District Court for the District of Columbia, U.S. Court of Appeals for the Fourth
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Circuit, U.S. Court of Appeals for the D.C. Circuit, U.S. District Court of the District

of Colorado, U.S. District Court for the Eastern District of Wisconsin, Supreme

Court of Virginia, U.S. Court of Appeals for the Ninth Circuit, U.S. Court of Appeals

for the Second Circuit, U.S. District Court for the Eastern District of Arkansas, U.S.

District Court for the Eastern District of Michigan, U.S. Court of Appeals for the

Fifth Circuit, U.S. Court of Appeals for the Eighth Circuit, and the U.S. Court of

Appeals for the Sixth Circuit. The Declaration also states that he has had neither

disciplinary proceedings nor criminal charges against him in any district, nor has he

had an admission revoked in this District. He is familiar with the Rules of the United

States District Court for the District of Massachusetts.

      Mr. Polio’s Declaration states that he is a member in good standing of the

State Bars of the State of Connecticut and the District of Columbia. The Declaration

also states that he has had neither disciplinary proceedings nor criminal charges

against him in any district, nor has he had an admission revoked in this District. He

is familiar with the Rules of the United States District Court for the District of

Massachusetts. The Declaration also states that he has had neither disciplinary

proceedings nor criminal charges against him in any district, nor has he had an

admission revoked in this District. He is familiar with the Rules of the United States

District Court for the District of Massachusetts.




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        I respectfully request that this Court admit Mr. Torchinsky and Mr. Polio pro

hac vice for the purpose of appearing and participating as co-counsel for the Plaintiff

in the above-captioned action. Counsel for the Defendants assent to this motion.



       Dated: September 17, 2018

       Respectfully submitted,

                                                    /s/ Timothy Cornell
                                                    Timothy Cornell BBO # 654412
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                                                    Jason Torchinsky (VA 47481)
                                                    Dennis W. Polio (CT 438205)
                                                    (Pro hac vice applications to be filed)
                                                    HOLTZMAN VOGEL
                                                    JOSEFIAK TORCHINSKY PLLC
                                                    45 North Hill Drive, Suite 100
                                                    Warrenton, VA 20186
                                                    (540) 341-8808
                                                    Fax: (540) 341-8809
                                                    jtorchinsky@hvjt.law
                                                    dwpolio@hvjt.law
                                                    ATTORNEYS FOR PLAINTIFF


                                 Certification of Conference

       Pursuant to Local Rule 7.1, I certify that I have conferred with Defendants’ counsel

regarding the above motion and that counsel has stated the Defendants assent to this Motion.


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                                       /s/ Timothy Cornell



                                     Certification of Service

       I, Timothy Cornell, certify that I will file the above motion via the Court’s ECF system,

and that the Defendants will be served electronically, or, if they have not filed a notice of

appearance, will be notified via First Class Mail, or electronic mail upon their consent.




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